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                     UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION

      NICCOL GORDON,

           Plaintiff,

      v.                                                No. 4:25-cv-00547-P

      COWTOWN EXPRESS LOGISTICS
      LLC ET AL.,

           Defendants.
                                      ORDER
         This case was transferred to this Court on May 20, 2025, when Judge
      Gujarati of the District Court for the Eastern District of New York
      accepted part of the findings, conclusions, and recommendations (the
      FCR) of Magistrate Judge Lois Bloom. ELECTRONIC ORDER, May 20,
      2025, accepting in part ECF No. 51. Because Plaintiff proceeds pro se,
      the action was referred to Magistrate Judge Jeffrey Cureton when the
      case arrived here. ECF No. 58.

          Certain portions of the FCR remain outstanding. The FCR made
      three recommendations: (1) to deny the Defendants’ motion to dismiss,
      (2) to grant Defendants’ motion to transfer venue, and (3) to deny
      Plaintiff ’s motion for default judgment against Defendant Carrier 411
      Services, Inc. (Carrier 411). Plaintiff objected to the second and third
      recommendations. The District Judge adopted the second
      recommendation and left the first and third unresolved.

           A Magistrate Judge’s findings, conclusions, and recommendations
      for a dispositive matter are reviewed de novo if a party timely objects.
      FED. R. CIV. P. 72(b)(3). The district court may then accept, reject, or
      modify the recommendations or findings in whole or in part. Id. Where
      no specific objections are filed, the Court reviews the Magistrate Judge’s
      findings, conclusions, and recommendation only for plain error. See
      Serrano v. Customs & Border Patrol, U.S. Customs & Border Prot., 975
      F.3d 488, 502 (5th Cir. 2020).
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        Defendants did not object to the recommendation to deny their
      motion to dismiss. The Court reviewed the findings and conclusions on
      that issue for plain error. Finding none, the Findings and Conclusions
      of Magistrate Judge Bloom are accepted as the Findings and
      Conclusions of the Court. Defendants’ motion to dismiss is therefore
      DENIED.

         Plaintiff objected to the FCR’s recommendation not to grant default
      judgment against Carrier 411. That Defendant is currently in default.
                       UNITED STATES DISTRICT COURT
      ECF No. 51 FOR3.THE
                    at   But NORTHERN
                              Magistrate Judge   Bloom recommended
                                            DISTRICT    OF TEXAS denying
      default judgment against
                             FORTCarrier
                                    WORTH411, DIVISION
                                              finding that Plaintiff had failed
      to establish the necessary facts supporting the Court’s exercise of
       REGINALEA
      personal      KEMP,over Carrier 411.
               jurisdiction

         The  Court
         Plaintiff,     need    not   review     Plaintiff ’s   objection   to   the
      recommendation to deny her motion for default judgment because that
       v. has been mooted by the transfer to this District.
      issue                                             No. As
                                                             4:23-cv-00841-P
                                                                the FCR notes,
      the Court may not enter default judgment unless it is sure it has
       REGIONS
      personal   BANK ET over
               jurisdiction AL.,
                                 the defendant. Id. at 16 (quoting City of New
      York v. Mickalis Pawn Shop, LLC, 645 F.3d 114, 133 (2d Cir. 2011)).
          Defendants.
      Therefore, in support of her motion ORDERfor default judgment, Plaintiff had
      to establish that the District Court for the Eastern District of New York
           Before the Court is Plaintiff’s Unopposed Motion for Leave to File
      had personal jurisdiction over Carrier 411. Now that the case is
       Second Amended Complaint. ECF No. 18. Having considered the Motion
      proceeding here, the personal-jurisdiction question turns on an entirely
       and applicable docket entries, the Court GRANTS the Motion.
      different set of facts. Plaintiff ’s objection to the FCR is OVERRULED
      and SO
           herORDERED        on this judgment
               motion for default    18th day is of DENIED
                                                    September   2023. prejudice
                                                              without
      as moot. Plaintiff may move for default judgment against Carrier 411 in
      this Court as the case proceeds before Magistrate Judge Cureton.

         SO ORDERED on this 27th day of June 2025.



                            ______________________________________________
                            Mark T. Pittman
                            UNITED STATES DISTRICT JUDGE




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